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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                              Chief Judge Philip A. Brimmer

Civil Action No. 24-cv-01584-PAB-TPO

P.C.,

          Plaintiff,

v.

D FORT HOTEL, LLC.,

          Defendant.


                                           ORDER


          The matters before the Court are the Motion to Dismiss [Docket No. 11], filed by

defendant D Fort Hotel, LLC., and Plaintiff’s Motion to Proceed Under Pseudonym for

Pretrial Proceedings [Docket No. 22]. The Court has jurisdiction pursuant to 28 U.S.C.

§ 1331.

     I.   BACKGROUND 1

              A. Factual Background

          Defendant D Fort Hotel, LLC. (“D Fort”), is the owner and operator of a hotel

known as Motel 6 Fort Collins (the “Motel 6”) located in Fort Collins, Colorado. Docket

No. 1 at 1, ¶ 2. Plaintiff P.C. 2 was sex trafficked at the Motel 6 in 2022. Id. at 2, ¶ 9.

P.C.’s sex trafficker deliberately and repeatedly selected the subject hotel as a venue


          1
         The facts below are taken from plaintiff’s complaint, Docket No. 1, and are
presumed to be true, unless otherwise noted, for purposes of ruling on the motion to
dismiss.
      2
         For the reasons discussed below, the Court will grant plaintiff’s request to
proceed using her initials and will refer to her as P.C.
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for sex trafficking in 2022, and sex trafficking had occurred at the Motel 6 prior to 2022.

Id. at 2, 4, ¶¶ 10, 18. While P.C. was being trafficked at the Motel 6, her trafficker had

direct interaction with hotel staff by paying staff members to act as lookouts and to

inform her trafficker of police activity. Id. at 6–7, ¶ 37. D Fort’s staff witnessed frequent

signs of sex trafficking, including: (a) constant foot traffic of sex buyers to the rooms

rented by the trafficker to have sex with victims; (b) trafficked victims, who were bruised,

malnourished, drug and alcohol-impaired, sleep-impaired, hygiene-impaired, and

behavior-impaired, walking around the hotel in sexually explicit clothing; (c) suspicious

individuals loitering outside the hotel rooms when a sex buyer would enter a room; (d)

suspicious items that were observed by housekeeping staff inside the hotel rooms

rented by the trafficker, including weapons, cash, drugs, drug paraphernalia, condoms,

and lubricants; (e) traffickers monitoring hotel hallways and doors or walking the hotel’s

perimeter; and (f) P.C. soliciting for sex buyer business in common areas. Id. at 7–8,

¶¶ 45–46. During 2022, P.C. interacted with hotel staff on a daily basis, and staff

witnessed and observed P.C., her trafficker, and a steady procession of sex buyers

going in and out of the rooms rented to the trafficker. Id. at 8, ¶ 48.

       The Motel 6 could deny accommodation to a guest or eject a guest for (1) being

visibly under the influence of drugs or alcohol; (2) creating a nuisance to the public; (3)

using a hotel room for unlawful purposes; (4) using hotel amenities and premises for

unlawful acts; (5) bringing in unregistered guests; (6) disturbing other guests; and (7)

violating other rules set by the hotel. Id. at 9, ¶ 50.

       D Fort was on notice of the high likelihood of illegal sex trafficking occurring at

the Motel 6 through the passage of the Trafficking Victims Protections Reauthorization




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Act (“TVPRA”) in 2008 and numerous other legislative initiatives. Id. at 3, ¶ 12. As a

hotel operator, D Fort controlled the training, policies, and decisions on the

implementation and execution of anti-trafficking policies, protocols, rules, and guidelines

for the Motel 6. Id. at 2–3, ¶ 11. D Fort failed to implement sufficient educational and

training programs on sex trafficking within its business chain of command, as well as

failed to implement policies for preventing, identifying, reporting, documenting,

investigating, and stopping sex trafficking at the Motel 6. Id. at 3, ¶ 14.

           B. Procedural Background

       On June 6, 2024, plaintiff filed her complaint, identifying herself only by the

initials P.C. Id. at 1. P.C. brings two claims against D Fort, namely, one claim of

violating the TVPRA, 18 U.S.C § 1595(a), for knowingly benefitting from participation in

a venture which D Fort knew or should have known was engaged in sex trafficking, and

one claim of negligence. Id. at 5–17, ¶¶ 25–86. On August 8, 2024, D Fort filed its

motion to dismiss, arguing that P.C. has failed to plausibly allege her federal TVPRA

claim and that the Court should therefore dismiss both claims because the Court lacks

jurisdiction over her state law negligence claim. Docket No. 11 at 1–2. P.C. responded,

Docket No. 12, and D Fort replied. Docket No. 13.

       On September 14, 2024, the Court ordered plaintiff to file a motion to proceed

under her initials, as opposed to her true name, noting that, “[a]lthough the complaint

incorporates a rationale for the plaintiff to be able to identify herself solely by her initials,

the proper procedure is, upon filing the complaint, to contemporaneously file a motion to

proceed by use of initials.” Docket No. 18. P.C. filed the motion to proceed under her

initials on September 18, 2024. Docket No. 22. D Fort did not respond.




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 II.   LEGAL STANDARD

           A. Motion to Dismiss

       To survive a motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil

Procedure, a complaint must allege enough factual matter that, taken as true, makes

the plaintiff’s “claim to relief . . . plausible on its face.” Khalik v. United Air Lines, 671

F.3d 1188, 1190 (10th Cir. 2012) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “The ‘plausibility’ standard requires that relief must plausibly follow from the

facts alleged, not that the facts themselves be plausible.” RE/MAX, LLC v. Quicken

Loans Inc., 295 F. Supp. 3d 1163, 1168 (D. Colo. 2018) (citing Bryson v. Gonzales, 534

F.3d 1282, 1286 (10th Cir. 2008)). Generally, “[s]pecific facts are not necessary; the

statement need only ‘give the defendant fair notice of what the claim is and the grounds

upon which it rests.’” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (per curiam) (quoting

Twombly, 550 U.S. at 555) (alterations omitted). A court, however, does not need to

accept conclusory allegations. See, e.g., Hackford v. Babbit, 14 F.3d 1457, 1465 (10th

Cir. 1994) (“[W]e are not bound by conclusory allegations, unwarranted inferences, or

legal conclusions.”).

       “[W]here the well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct, the complaint has alleged – but it has not shown – that

the pleader is entitled to relief.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (quotations

and alterations omitted); see also Khalik, 671 F.3d at 1190 (“A plaintiff must nudge [his]

claims across the line from conceivable to plausible in order to survive a motion to

dismiss.” (quoting Twombly, 550 U.S. at 570)). If a complaint’s allegations are “so

general that they encompass a wide swath of conduct, much of it innocent,” then

plaintiff has not stated a plausible claim. Khalik, 671 F.3d at 1191 (quotations omitted).


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Thus, even though modern rules of pleading are somewhat forgiving, “a complaint still

must contain either direct or inferential allegations respecting all the material elements

necessary to sustain a recovery under some viable legal theory.” Bryson, 534 F.3d at

1286 (alterations omitted).

           B. The Trafficking Victims Protection Reauthorization Act

       Congress enacted the Trafficking Victims Protection Act in 2000, creating

criminal offenses for forced labor and sex trafficking. Pub. L. No. 106-386, 114 Stat.

1464 (2000). The original act did not contain a private right of action. Griffin v. Alamo,

2016 WL 7391046, at *2 (W.D. Ark. Dec. 21, 2016). However, in 2003, Congress

added a right of action for victims to sue their traffickers civilly. Pub. L. No. 108-193,

117 Stat. 2875 (2003). In 2008, Congress further amended the law to permit victims to

sue those who facilitate trafficking ventures. The 2008 law provides

       An individual who is a victim of a violation of this chapter may bring a civil action
       against the perpetrator (or whoever knowingly benefits, financially or by receiving
       anything of value from participation in a venture which that person knew or
       should have known has engaged in an act in violation of this chapter) in an
       appropriate district court of the United States and may recover damages and
       reasonable attorneys fees.

18 U.S.C. § 1595(a) (emphasis added).

       To state a claim under a § 1595(a) beneficiary theory, a plaintiff must allege facts

from which it can be reasonably inferred that a defendant (1) “knowingly benefit[ted]

financially or by receiving anything of value” (2) from participation in a venture that

defendant “knew or should have known has engaged in” sex trafficking. 18 U.S.C.

§ 1595(a); A.B. v. Marriott Int’l, Inc., 455 F. Supp. 3d 171, 181 (E.D. Pa. 2020). Sex

trafficking includes the use “of force, threats of force, fraud, coercion . . . , or any

combination of such means” “to cause [a] person to engage in a commercial sex act.”



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18 U.S.C. § 1591(a). The act defines “coercion” as “threats of serious harm to or

physical restraint against any person” or “any scheme, plan, or pattern intended to

cause a person to believe that failure to perform an act would result in serious harm to

or physical restraint against any person.” Id., § 1591(e)(2)(A)–(B).

       A plaintiff may satisfy these elements in one of two ways. She may show that the

defendant’s own acts, omissions, and state of mind establish each element.

Alternatively, she may impute to the defendant the acts, omissions, and state of mind of

an agent of the defendant. The former is referred to as “direct liability” and the latter as

“indirect liability.” See, e.g., A.B. v. Hilton Worldwide Holdings, Inc., 2020 WL 5371459,

at *6 (D. Ore. Sept. 8, 2020); B.M. v. Wyndham Hotels & Resorts, Inc., 2020 WL

4368214, at *4 (N.D. Cal. July 30, 2020).

          C. Motion to Proceed Under Initials

       “Proceeding under pseudonym in federal court is, by all accounts, an unusual

procedure.” Femedeer v. Haun, 227 F.3d 1244, 1246 (10th Cir. 2000) (quotation

omitted). “Moreover, there does not appear to be any specific statute or rule supporting

the practice. . . . To the contrary, the Federal Rules of Civil Procedure mandate that all

pleadings contain the name of the parties, see Fed. R. Civ. P. 10(a), and Rule 17(a)

specifically states that ‘[e]very action shall be prosecuted in the name of the real party in

interest.’” Id. (quoting Fed. R. Civ. P. 17(a)). However, the Tenth Circuit has

recognized three “exceptional” circumstances permitting a party to proceed under a

pseudonym: (1) “cases involving matters of a highly sensitive and personal nature,” (2)

cases involving a “real danger of physical harm,” and (3) “where the injury litigated




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against would be incurred as a result of the disclosure of the plaintiff’s identity.” 3 Id.

(quoting Doe v. Frank, 951 F.2d 320, 324 (11th Cir. 1992)).

        “The public has a common law right to access judicial records and documents in

civil cases, but the right is not absolute.” Doe v. FBI, 218 F.R.D. 256, 258 (D. Colo.

2003). “[I]t is proper to weigh the public interest in determining whether some form of

anonymity is warranted.” Femedeer, 227 at 1246. “Ordinarily, those using the courts

must be prepared to accept the public scrutiny that is an inherent part of public trials.”

Id. “The risk that a plaintiff may suffer some embarrassment is not enough” to permit

the plaintiff to proceed anonymously. Id.

 III.   ANALYSIS

            A. Motion to Proceed Under Initials

        P.C. seeks leave to identify herself using only her initials during the pretrial

proceedings in this case. Docket No. 22 at 1. She argues that the highly personal and

intimate nature of the allegations in the complaint weighs in favor of permitting her to

use her initials. Id. at 3. Moreover, P.C. asserts that allowing this degree of anonymity

in a case involving allegations of sex trafficking serves the public interest because

failing to do so would chill other victims of sex trafficking from litigating their claims. Id.

at 5.

        Courts have found that cases involving claims of sex trafficking warrant allowing

plaintiffs to proceed under their initials because plaintiffs litigating such claims “will be

called upon to disclose alleged experiences which are sensitive, highly personal in


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          These exceptional circumstances apply equally in considering whether a
plaintiff may proceed under her initials rather than under a pseudonym. See, e.g., S.Y.
v. Choice Hotels Int’l, Inc., 2021 WL 4167677, at *1 (M.D. Fla. Sept. 14, 2021)
(permitting plaintiffs to proceed using initials S.Y. and C.S.).


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nature, and involve the utmost intimacy.” S.Y., 2021 WL 4167677, at *2; see also A.B.

v. Shilo Inn, Salem, LLC, 2023 WL 5237714, at *3 (D. Or. Aug. 15, 2023) (“Because this

Court finds the need for anonymity outweighs any prejudice to the Defendants and the

public, this Court grants leave for Plaintiff to proceed under the pseudonym ‘A.B.’ in this

case.”); B.J. v. G6 Hosp., LLC, 2023 WL 3569979, at *1 (N.D. Cal. May 19, 2023); J.C.

v. Choice Hotels Int’l, Inc., 2020 WL 3035794, at *1 (N.D. Cal. June 5, 2020); J.M. v.

Choice Hotels Int’l, Inc., 2022 WL 10626493, at *3 (E.D. Cal. Oct. 18, 2022).

       The Court finds that requiring plaintiff to proceed under her full name would result

in more than “[t]he risk that a plaintiff may suffer some embarrassment,” Raiser v.

Brigham Young Univ., 127 F. App’x 409, 411 (10th Cir. 2005) (unpublished), and that

the scope of her claims raises more than economic or professional concerns. Nat’l

Commodity and Barter Ass’n v. Gibbs, 886 F.2d 1240, 1245 (10th Cir. 1989) (leave to

proceed under a pseudonym will not be granted “when only the plaintiff’s economic or

professional concerns are involved”). Rather, the Court agrees with the reasoning of

other courts that plaintiffs’ sex trafficking claims are of a “highly sensitive and personal

nature.” Femedeer, 227 at 1246. Here, P.C. alleges that she was repeatedly victimized

and trafficked for sex, that she was psychologically and physically prohibited from

escaping, and that the trauma of her being trafficked has led to depression, anxiety

disorders, and PTSD. Docket No. 1 at 2–4, 9, ¶¶ 6, 17, 51. The public interest in

access to judicial records is outweighed by P.C.’s privacy interests in this case, and the

Court will grant plaintiff’s motion to use her initials in the pretrial phase of this case.

           B. Motion to Dismiss

       D Fort argues that P.C. has failed to adequately plead a TVPRA violation

because, while the allegations in the complaint may plausibly allege that D Fort was


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aware that commercial sex occurred at the Motel 6, there are no allegations that show D

Fort knew that P.C.’s participation was not voluntary, i.e. that she was being trafficked.

Docket No. 11 at 4–5, ¶ 4. D Fort states that, “[a]lthough Plaintiff alleged indicia of

commercial sex activity, when the victim is an adult, § 1591 only provides a remedy for

commercial sex activity involving ‘force, threats of force, fraud, [or] coercion’” and that

“[i]t is the force or coercion element that is absent from the Complaint.” Id. (quoting 18

U.S.C. § 1591(a)). It contends that “[t]he Complaint did not allege that any of D Fort’s

personnel witnessed non-consensual sex activity (or, indeed, any sex activity at all) or

witnessed Plaintiff being threatened or assaulted by her alleged trafficker,” and that

such allegations are necessary to support her TVPRA claim. Id.

       P.C. responds that the allegations in the complaint, taken as true, show that D

Fort should have known that sex trafficking was taking place at the Motel 6. 4 Docket

No. 12 at 11. She claims that the allegations contain sufficient red flags that are alleged

to have been seen by hotel staff to put them on notice of the non-consensual nature of

the sex work, including (1) weapons, drugs, and lubricants in rooms rented by her

trafficker; (2) P.C.’s signs of abuse, such as bruises and her malnourished state; and (3)

the “constant foot traffic of sex buyers to the trafficker rented rooms to have sex with

trafficked victims.” Id. at 12 (quoting Docket No. 1 at 7–8, ¶ 45). She asserts that

courts have found similar allegations regarding signs of violence and abuse sufficient to




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         Plaintiff’s response also argues that she has plausibly alleged that (1) she is a
victim of sex trafficking, (2) D Fort participated in the sex trafficking venture, and (3) D
Fort knowingly benefited from its participation in the venture. Docket No. 12 at 4–10.
Because D Fort challenges only the sufficiency of the complaint as to whether D Fort
knew that the commercial sex allegedly occurring at the Motel 6 was not voluntary, it is
unnecessary to consider P.C.’s arguments on these other issues.


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plausibly allege that defendants should have known that they were participating in a

venture that violated the TVPRA. Id. at 13 (citing J.G. v. Northbrook Indus., Inc., 619 F.

Supp. 3d 1228, 1238 (N.D. Ga. 2022); Doe 4 v. Red Roof Inns, Inc., 2021 WL

12104819, at *7 (N.D. Ga. Feb. 3, 2021)).

       D Fort is correct that many of the allegations in P.C.’s complaint support only the

proposition that P.C. and her trafficker were engaged in commercial sex work, but not

that P.C. was being trafficked. For example, while P.C.’s allegations that hotel staff

observed “weapons, cash, drugs, drug paraphernalia, condoms, [and] lubricants” or that

they observed P.C. in sexually explicit clothing “soliciting for sex buyer business in

common areas” is indicative of commercial sex work, as well as other illegal activity,

these allegations do not support the inference that P.C. was engaging in this activity

due to force, threats of force, fraud, or coercion. Docket No. 1 at 7–8, ¶ 45. Moreover,

while courts have relied on allegations similar to those in P.C.’s complaint to find that

the plaintiff had plausibly alleged a TVPRA claim, these courts have also relied on

allegations that provide more direct evidence of force and coercion. See, e.g., J.G., 619

F. Supp. 3d at 1238–39 (finding that defendant should have known about sex trafficking

based on plaintiff’s allegations that she had visible signs of physical injuries and poor

hygiene, that plaintiff’s traffickers carried weapons and operated openly, and that hotel

staff saw condoms, drugs, weapons, and many towels, sheets, and tissues in plaintiff’s

room, but also relying on the fact that plaintiff looked underage and was wearing

inappropriate clothing); S.Y. v. Naples Hotel Co., 476 F. Supp. 3d 1251, 1257 (M.D. Fla.

2020) (finding that defendant should have known about sex trafficking based on

allegations that plaintiff’s hotel room contained excessive used condoms and traffickers




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made excessive requests for towels and linens in the rooms, but also relying on pleas

and screams for help coming for victim’s rooms); M.A. v. Wyndham Hotels & Resorts,

Inc., 425 F. Supp. 3d 959, 967 (S.D. Ohio 2019) (finding that defendant should have

known about sex trafficking based on allegations that hotel staff saw trash cans

containing an extraordinary number of used condoms, but also that hotel staff ignored

plaintiff’s pleas for help).

       The Court, however, finds that three of plaintiffs’ allegations support an inference

that D Fort staff should have known that P.C. was being trafficked, namely, P.C.’s

allegations that (1) bruised, malnourished, drug and alcohol-impaired, sleep-impaired,

and hygiene-impaired trafficking victims would walk around hotel grounds, (2) that D

Fort staff witnessed P.C., her trafficker, and a steady procession of sex buyers going in

and out of a single room on a daily basis, and (3) that P.C.’s trafficker had direct

interaction with hotel employees by paying them to serve as lookouts/informants.

Docket No. 1 at 7–8, 14, ¶¶ 45,48, 72.

       Courts have found that allegations of injuries, such as bruises, support an

inference that hotel staff should have known that the commercial sex activity was also

part of a human trafficking operation. See, e.g., A.B. v. Marriott Int’l, Inc., 455 F. Supp.

3d 171, 178 (E.D. Pa. 2020) (“A.B. alleges Marriott knew or should have known about

A.B.’s trafficking” in part because of “prominent bruising and injury on her body.”); Doe

S.W. v. Lorain-Elyria Motel, Inc., 2020 WL 1244192, at *5 (S.D. Ohio Mar. 16, 2020)

(relying on the allegations that defendants ignored “obvious signs of human trafficking

(bruises and physical deterioration) and indicators of commercial sex activity (bottles of

lubricants, boxes of condoms, excessive requests for towels and linens, cash




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payments)”); M.A., 425 F. Supp. 3d at 962, 968 (“She also alleges facts specific to her

own sex trafficking, including a number of signs she alleges should have alerted staff to

her situation,” such as that “the hotel staff would have or should have observed visible

physical changes, such as bruising. . . . These allegations are sufficient to survive a

12(b)(6) motion to dismiss.”); J.G., 619 F. Supp. 3d at 1236.

       Courts have also found that allegations of voluminous sex buyers are indicative

of the fact that the commercial sex activity was coerced. See, e.g., A.G., 2022 WL

1644921, at *4 (finding that “the amount of men visiting [plaintiff’s] room, [and] the

disturbances caused by the men visiting Plaintiff’s room” demonstrate that defendant

had constructive knowledge that plaintiff was being sex trafficked); S.Y., 476 F. Supp.

3d at 1257 (finding plaintiff had plausibly alleged a TVPRA violation, in part, because

she alleged there were “[m]ultiple men per day coming and going from the same rooms

without luggage or personal possessions”); A.B., 455 F. Supp. 3d at 193 (finding plaintiff

had plausibly alleged a TVPRA violation, in part, because she alleged that “as many as

six men an evening entered each of the three hotels as an ‘unannounced guest,’

creating a ‘voluminous and obvious’ constant stream of male visitors to A.B.’s rooms

accessed through the front door and main lobby of the hotels”); Doe S.W., 2020 WL

1244192, at *5 (finding plaintiff had plausibly alleged a TVPRA violation, in part,

because she alleged that, “[o]n average, three to five Johns would enter and leave the

hotel guest room on a daily basis”); Doe 4, 2021 WL 12104819, at *7 (“Further, CC&S,

Kuzzins, and Essex knew or should have known the venture violated the TVPRA

because their employees, agents, and representatives saw the signs of sex trafficking

exhibited by Plaintiff, the condition of the rooms in which she was trafficked, the




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frequency and volume of traffic of male buyers to Plaintiff’s rooms, and the numerous

other victims being trafficked at the hotel which evidenced sex trafficking, as opposed to

mere prostitution.”).

       Although P.C.’s complaint lacks important details such as where and how large

her bruises were, how many men visited the rooms of trafficking victims on a regular

basis, and who at the hotel served as lookouts, the Court finds that her complaint

presents sufficient factual allegations to nudge her claim from possible to plausible.

Khalik, 671 F.3d at 1190 (“A plaintiff must nudge [her] claims across the line from

conceivable to plausible in order to survive a motion to dismiss.” (quoting Twombly, 550

U.S. at 570)). The Court therefore denies D Fort’s motion to dismiss.

IV.    CONCLUSION

       Therefore, it is

       ORDERED that the Motion to Dismiss [Docket No. 11] is DENIED. It is further

       ORDERED that Plaintiff’s Motion to Proceed Under Pseudonym for Pretrial

Proceedings [Docket No. 22] is GRANTED.



       DATED February 5, 2025.

                                          BY THE COURT:


                                           _______________ _ ___________
                                          ___________________________
                                          PHILIP A. BRIMMER
                                          Chief United States District Judge




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